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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                  Case No. 11-20129-33

SALVATORE BATTAGLIA,


             Defendant.
                                               /


          ORDER DENYING MOTION FOR REVOCATION OF DETENTION

      Defendant filed a motion on July 25, 2012 seeking release. He had been

detained by order of Magistrate Judge Mona Majzoub on July 16, 2012, the magistrate

judge having found by clear and convincing evidence that he presented a danger to the

community.

      A hearing was held on August 8, 2012 and for the reasons stated on the record,

the court adopts the reasons expressed by the Magistrate Judge in denying release.

      IT IS ORDERED that the motion to revoke detention [Dkt. #309] is DENIED.

                                         S/Robert H. Cleland
                                        ROBERT H. CLELAND
                                        UNITED STATES DISTRICT JUDGE

Dated: August 13, 2012

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, August 13, 2012, by electronic and/or ordinary mail.


                                         S/Lisa Wagner
                                        Case Manager and Deputy Clerk
                                        (313) 234-5522
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